       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 1 of 11                     FILED
                                                                                   2024 Jul-12 PM 06:52
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

 LAKEISHA EZELL,                             )
                                             )
              Plaintiff,                     )
                                             )     Case No. 4:20-CV-02058-ACA
 v.                                          )
                                             )
 JEFFERSON DUNN, et al.,                     )
                                             )
              Defendants.                    )

                            JOINT STATUS REPORT

      The Parties, through their attorneys, apprise the Court of the current status of

the case:

      Fact discovery is set to close in this matter on August 12, 2024. The Parties

have conducted substantial discovery and do not believe they will require an

extension in the fact discovery deadline absent unanticipated circumstances such as

deposition cancellations that cannot be rescheduled in time. Plaintiff’s expert

disclosures are due September 12, 2024, and Defendants’ expert disclosures are due

October 11, 2024.

                                   Written Discovery

      The Parties have exchanged and responded to an initial set of Requests for

Production and Interrogatories. There are no outstanding disputes regarding those

discovery requests at this time.
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 2 of 11




      Plaintiff served a second set of Interrogatories, a second set of Requests for

Production and a set of Requests for Admission on each Defendant on July 11, 2024.

Should disputes arise about this discovery, Plaintiff intends to alert the Court on

August 12, 2024, as timely and complete responses are needed for summary

judgment.

      Plaintiff has not yet received a full response to her subpoena to ADOC.

Plaintiff and counsel for ADOC have engaged in numerous telephone and email

conferences, agreements, and follow-up conversations over the past 6 months, but

significant and important documents and categories of documents remain

outstanding. On July 11, 2024, Plaintiff served her motion to enforce the subpoena

on ADOC and Defendants and filed Plaintiff’s motion to temporarily seal the motion

and certain exhibits due to confidentiality designations by ADOC. Plaintiff has filed

her motion with placeholders for the under-seal exhibits and briefing. On the clerk’s

instructions, Plaintiff is awaiting a grant of the motion to seal to file her under seal

materials conventionally per local rule. See ECF No. 136.

      Plaintiff’s motion sets forth the outstanding categories of critical documents

that have yet to be produced by ADOC. Key missing documents include most

incident reports documenting violent assaults at St. Clair in the timeframe leading

up to the fatal stabbing of Mr. Andrews, which are necessary to prove the existence

of a substantial risk of harm; audit materials reflecting notice to Defendants of


                                           2
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 3 of 11




deficiencies; applicable written policies specifically requested months ago by

Plaintiff; materials specific to Mr. Andrews and his assailant; and Defendants’

disciplinary investigations and records. For most requests in dispute, ADOC agreed

that Plaintiff’s timeframe was appropriate and agreed to provide all responsive

documents following a diligent investigation, waiving objections. Yet time after time

again, Plaintiff has discovered large gaps in ADOC’s production by comparing the

documents produced against those referenced in the production.

      Plaintiff believes that timely production of these outstanding documents is

necessary to complete her expert disclosures by the September 12 deadline, and

therefore she has asked the Court to order ADOC to provide the outstanding

materials within seven days and provide confirmation to the Court that it has done

so. Should the receipt of the outstanding materials continue to be delayed, Plaintiff

may have no choice but to move the Court for an extension in her September 12

expert disclosures deadline.

      Finally, Plaintiff responds to Defendants’ discussion below of the recent

Eleventh Circuit case, Wade v. McDade, No. 21-14275, 2024 WL 3354963, at *3

(11th Cir. July 10, 2024). Defendants misunderstand the reasoning and holding in

Wade. First, Wade reiterated that Farmer v. Brennan sets out the proper standard for

analyzing a prisoner’s deliberate indifference claims. Wade v. McDade, No. 21-

14275, 2024 WL 3354963, at *3 (11th Cir. July 10, 2024) (“We lost our way—and


                                         3
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 4 of 11




bollixed our caselaw—by straying from Farmer, so we begin with a detailed review

of the Supreme Court's decision there.”). The Supreme Court in Farmer makes clear

that a defendant’s knowledge of widespread risks of violence posed to prisoners in

a facility is, at the very least, relevant to whether they were aware that their conduct

exposed a prisoner to a substantial risk of harm:

      The question under the Eighth Amendment is whether prison officials,
      acting with deliberate indifference, exposed a prisoner to a sufficiently
      substantial “risk of serious damage to his future health,” and it does not
      matter whether the risk comes from a single source or multiple sources,
      any more than it matters whether a prisoner faces an excessive risk of
      attack for reasons personal to him or because all prisoners in his
      situation face such a risk. . . . If, for example, prison officials were
      aware that inmate “rape was so common and uncontrolled that some
      potential victims dared not sleep [but] instead ... would leave their beds
      and spend the night clinging to the bars nearest the guards’ station,” it
      would obviously be irrelevant to liability that the officials could not
      guess beforehand precisely who would attack whom.

Farmer v. Brennan, 511 U.S. 825, 843 (1994) (internal citations and parentheticals

omitted).

      The relevance of evidence of widespread risks of violence at St. Clair is

supported by the Wade decision. Wade, like Farmer, clearly concludes that

“exposing” an incarcerated individual to dangerous conditions can be a

constitutional violation. Wade, 2024 WL 3354963, at *4-5 (“Notably, though, the

Court framed “[t]he question under the Eighth Amendment” more precisely:

“[W]hether prison officials, acting with deliberate indifference, exposed a prisoner

to a sufficiently substantial ‘risk of serious damage to his future health.’” (quoting

                                           4
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 5 of 11




Farmer, 511 U.S. at 843)). Thus, evidence about the conditions to which Terrence

Andrews and Steven Mullins were exposed at St. Clair is plainly relevant to the

claims here. See id. at *4 (discussing Farmer and noting with approval that

assessment of risk was “trained not just on the risks of violence and assault that exist

in a prison’s general population, but rather on the risks that the prison officials

created by placing the inmate in a particular prison’s general population”).

      The ADOC Parties disagree with Plaintiff’s characterization of ADOC’s

response to her subpoena and the status of document production. Plaintiff served

extremely broad requests in her subpoena to ADOC clearly disproportionate to the

needs of her claims. Plaintiff failed to include any temporal limitation to many of

her requests, seeking documentation over decades which maintain no relevance to

her claims related to a specific, individual event that occurred at one ADOC Facility

in 2018. Moreover, Plaintiff seeks documents from unrelated, closed litigation

subject to confidentiality orders in which ADOC was not a party. Like this Court

recognized in the Boykins matter, it remains inappropriate to re-open a closed case

and allow a third party to receive documents subject to and protected by a protective

order and in which they possess no personal interest. ADOC produced tens of

thousands of pages of documents thus far in this matter. Plaintiff sued the ADOC

Parties as individuals related to allegations of a single incident which occurred in

2018. The discovery Plaintiff seeks goes well beyond the scope and breath of the


                                           5
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 6 of 11




alleged incident, alleged individuals involved, and admissible evidence.

      This remains especially true in light of the Eleventh Circuit’s recent opinion

in Wade v. McDade, No. 21-14275, 2024 WL 3354963, at *1 (11th Cir. 2024).

Notably, the Court in Wade explained The Court's focus, “it seems to us, was on

whether the official knew that his own conduct—again, his own acts or omissions—

put the inmate at risk, not just whether the inmate confronted a risk in the abstract.”

Wade v. McDade, No. 21-14275, 2024 WL 3354963, at *5 (11th Cir. July 10, 2024).

The Wade Court determined that the relevant inquiry for determining liability for a

deliberate indifference claim under the Eighth Amendment is not whether the prison

official knew of a generalized risk to the inmate population within a prison, but

instead “a prison official's subjective awareness of the risk caused by his own

conduct—rather than some preexisting risk,” because only analysis of the officials’

subjective awareness and own conduct “can account for, and sensibly apply to, the

full range of deliberate-indifference cases.” Wade v. McDade, No. 21-14275, 2024

WL 3354963, at *5 (11th Cir. July 10, 2024). Ultimately the Court identified the

proper standard for liability for deliberate indifference under the Eighth Amendment

as:

             1.    First, of course, the plaintiff must demonstrate, as a
             threshold matter, that he suffered a deprivation that was,
             “objectively, ‘sufficiently serious.’ ” Id. at 834, 114 S.Ct.
             1970 (citation omitted).

             2.     Second, the plaintiff must demonstrate that the

                                          6
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 7 of 11




             defendant acted with “subjective recklessness as used in
             the criminal law,” id. at 839, 114 S.Ct. 1970, and to do so
             he must show that the defendant was actually, subjectively
             aware that his own conduct caused a substantial risk of
             serious harm to the plaintiff—with the caveat, again, that
             even if the defendant “actually knew of a substantial risk
             to inmate health or safety,” he “cannot be found liable
             under the Cruel and Unusual Punishments Clause” if he
             “responded reasonably to the risk.” Id. at 844–45, 114
             S.Ct. 1970.

             Wade v. McDade, No. 21-14275, 2024 WL 3354963, at
             *7 (11th Cir. July 10, 2024).

The Court in Wade narrowed deliberate indifference to focus squarely on the specific

risk, to the specific plaintiff and the individual official’s knowledge of that risk

caused by his conduct, the Court correctly added that where a prison official

responds reasonably to the specific known risk, they may not be held liable even if

the harm is not averted. Id. at *3.


                                      Oral Discovery

      The parties have made significant progress with regard to oral discovery. The

following individuals have been deposed: LaKeisha Ezell, Lori Guy, Christy

Vincent, Grant Culliver, Cynthia Caver, Charles Daniels, Neketris Estelle, Rickey

Johnson, Tanya Ary, Kevin White, Gary Malone, and Larry Baker.

      The following individuals have not yet been deposed but are scheduled to be

deposed between now and August 9: Jefferson Dunn, Carla Graham, Eric Garrett,

Jacob Weaver, William Ragsdale, Antoine Price, LaTonya Scott, Karla Jones,

                                            7
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 8 of 11




Anthony Brooks, Angela Gordy, Gwendolyn Givens, Edward Ellington.

      Plaintiff intends to take, but has not yet scheduled, the deposition of third-

party ADOC employee Brandy Smith. Plaintiff has sought her deposition since May

24, 2024, requested her last known contact information from ADOC and sent follow-

up requests on four occasions since June 14. ADOC has indicated that there are

several Brandy Smith’s in ADOC employment and that it is investigating which one

is the correct individual.

      Barring unexpected circumstances (such as deposition cancellations that

cannot be rescheduled in time by the parties), the parties do not anticipate needing

an extension of the fact discovery deadline to complete the outstanding depositions

discussed above.

                                   MEDIATION

      The Parties are amenable to mediate this matter, but the Parties believe that

mediation would be most productive after summary judgment briefing.

                                 OTHER ISSUES

      Punitive Damages Discovery: As part of Plaintiff’s initial discovery requests,

Plaintiff sought discovery into Defendants’ financial condition for punitive damages

purposes. Defendants objected to this discovery, and the parties conferred. During

the most recent conference before the Court, the parties notified the Court that they

were at impasse regarding punitive damages discovery. Plaintiff’s position is that


                                         8
       Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 9 of 11




this type of discovery is appropriate and timely carried out during the discovery

period. However, as a compromise, Plaintiff proposed that punitive damages

discovery be deferred until after summary judgment on terms that would minimize

any prejudice to Plaintiff. Defendants rejected this proposal and took the position

that punitive damages discovery is not permissible until after liability is determined

at trial. The parties requested leave to brief the issue, and the Court took the issue

under advisement, but did not grant leave to the parties to brief the issue. On May

10, 2024, the parties submitted authority supporting their positions to the Court in

an email with their regular discovery spreadsheet.

      Plaintiff renews her request to the Court to grant the parties leave to brief this

issue and/or to set a status conference to resolve the dispute. Plaintiff anticipates that

this issue will again come to head in the coming weeks because she intends to seek

punitive damages discovery during the upcoming depositions of, at least, Defendants

Dunn, Jones, Brooks, Givens, and Ellington, which will occur on July 22, August 2,

August 7, August 8, and August 9, respectively.

                              STATUS CONFERENCE

      The parties request a status conference for the reasons discussed above.

Dated: July 12, 2024.


                                         Respectfully submitted,



                                            9
      Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 10 of 11




LAKEISHA EZELL
BY: /s/ Megan Pierce
One of Plaintiff’s Attorneys

BY: /s/ Anil Mujumdar
Local Counsel for Plaintiffs


*Ruth Z. Brown (pro hac vice)
Megan Pierce (pro hac vice)
Quinn Rallins (pro hac vice)
Attorneys for Plaintiff
LOEVY & LOEVY
311 N. Aberdeen, 3rd Floor
Chicago, IL 60607
Telephone: 312-243-5900
Fax: 312-243-5902
Email: ruth@loevy.com, megan@loevy.com
*Counsel of Record

Anil A. Mujumdar (ASB-2004-L65M)
Dagney Johnson Law Group
2170 Highland Avenue, Suite 250
Birmingham, AL 35205
T: 205.590.6986
F: 205.809.7899
E: anil@dagneylaw.com

/s/ Matthew B. Reeves
One of the Attorneys for Jefferson Dunn,
Edward Ellington, and Karla Jones

William R. Lunsford
Matthew B. Reeves
William J. Cranford
Daniel J. Chism
BUTLER SNOW LLP
200 West Side Square
Suite 100
Huntsville AL, 35801
                                       10
      Case 4:20-cv-02058-ACA Document 138 Filed 07/12/24 Page 11 of 11




Telephone: (256) 936-5650
Facsimile: (256) 936-5651
Bill.lunsford@butlersnow.com
Matt.reeves@butlersnow.com
Will.cranford@butlersnow.com
Daniel.chism@butlersnow.com

Attorneys for Jefferson Dunn, Edward Ellingtom,
And Karla Jones

/s/ Caitlin E. Cobb
One of the Attorneys for Larry Baker

W. Allen Sheehan
C. Richard Hill, Jr.
James N. Walter, Jr.
Caitlin E. Cobb

Capell & Howard, P.C.
150 S. Perry Street
Montgomery, AL 36104
Telephone: (334) 241-8000
Facsimile: (334) 323-8888
Allen.sheehan@chlaw.com
Rick.hill@chlaw.com
Jimmy.walter@chlaw.com
Caitlin.cobb@chlaw.com

Attorneys for Larry Baker


                         CERTIFICATE OF SERVICE

       I, Megan Pierce, hereby certify that on July 12, 2024, I caused the foregoing
to be filed using the Court’s CM/ECF system, which effected service on all
counsel of record.

                                              /s/ Megan Pierce
                                              One of Plaintiff’s Attorneys


                                         11
